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                                   UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                        GALVESTON DIVISION

CHANDA JACKSON ON BEHALF OF,                                               §
MINOR CHILD JANE DOE,                                                      §
TATIAWNA JACKSON ON BEHALF                                                 §
MINOR CHILD JOHN DOE
         Plaintiff,                                                        §
                                                                           §
v.                                                                         §            CIVIL ACTION NO. ___________
                                                                           §            Jury Demanded
                                                                           §
                                                                           §
CLEAR CREEK INDEPENDENT                                                    §
SCHOOL DISTRICT                                                            §
          Defendant.                                                       §

                                     PLAINTIFF’S ORIGINAL COMPLAINT

                                                               A. PARTIES

1.	        Plaintiff,	   CHANDA	   JACKSON,	   on	   behalf	   of	   minor	   child	   Jane	   Doe,	   is	   an	  

individual	  who	  can	  be	  contacted	  through	  counsel.	  

2.	        Plaintiff	   TATIAWANA	   JACKSON	   on	   behalf	   of	   minor	   child	   John	   Doe,	   is	   an	  

individual	  who	  can	  be	  contacted	  through	  counsel.	  

3.	        Defendant,	  CLEAR	  CREEK	  ISD	  is	  a	  local	  governmental	  entity.	  	  The	  Defendant	  

can	   be	   served	   through	   the	   superintendent	   Eric	   Williams	   at	   2425	   East	   Main	   Street	  

League	  City,	  Texas	  77573,	  

                                                           B.	  	  JURISDICTION	  

4.	           The	   Court	   has	   jurisdiction	   over	   the	   lawsuit	   because	   the	   suit	   arises	   under	  

Title	  VI	  of	  the	  Civil	  Rights	  Act	  of	  1964	  (34	  C.F.R.	  Part	  100).	  	  

                                                                           	  

                                                                           	  



                                                                                                                                     1
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                                                          C.	  	  VENUE	  

5.	        Venue	   is	   proper	   in	   this	   district	   under	   28	   U.S.C.	   §1391(b)(1)	   because	   the	  

Defendant	  resides	  in	  this	  district.	  

                                                          D.	  	  FACTS	  

John	  Doe:	  

6.	        9.5.19 John Doe’s teacher ignored that another student choked John Doe and she

did not notify John Doe’s parents that John Doe suffered a violent attack. The teacher’s

decision to hide the attack was inconsistent with school policy thereby created a disparate

and separate impact upon John Doe causing him immediate and lasting physical and

psychological injury that goes well beyond neglect until it is better characterized as

institutional abuse;	  

•           10.20.19 An older student punched John Doe in the eye but again the school

inexplicably did not tell John Doe’s parents about continuing physical abuse of their

child. They attempted to sweep yet another attack under the rug and did not even bother

to tell John Doe’s parents. John Doe parents are familiar with the school practices and

culture of purported non-violence but John Doe, an African-American student, did not

receive these same protections;

•           11.12-15-2019 The teacher punished John Doe for going to the rest room. The

teacher began targeting Elijah but not allowing him to use the restroom during the day.

He had to “hold it’ and often ended up wetting his pants during and afterschool. Other

white students could go to the restroom as needed but John Doe was subjected to further

humiliation and frankly torture because he was African American;

•           11.14.19 A student tripped John Doe causing him further injury.



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Jane Doe:

7.          Incident(s) 1 happened in the cafeteria where Jane Doe’s teacher (Mrs. Jessica

Yeates) removed Jane Doe from the lunch table, and she made Jane Doe eat alone in

isolation that negatively impacted Jane Doe emotionally and psychologically. The school

failed to provide a reasonable explanation why Jane Doe was stigmatized.

            Incident(s) 2 The school called Ms. Jackson and told her Jane Doe wanted to

leave class and went to the school nurse on more than one occasion. Jane Doe wanted to

leave class to find refuge from being physically harmed by students who pushed,

scratched and called her, “Fat Durty Stupid”.

            Incident(s) 3 Another student slapped Jane Doe she could not hear out of her ear.

Although the teacher witnessed the attack, the teacher inexplicably took no action. The

school failed to notify Ms. Jackson of the attack.

            Incident 4 A student bit Jane Doe on the hand that caused a wound that required

stitches. Sadly, the school failed to notify Ms. Jackson.

            Incident(s) 5 Jane Doe suffered continuing attacks from a bully who stepped on

Jane Doe’s fingers and elbowed her arms. When Jane Doe looked to the teacher for help

immediately after an attack, the teacher did nothing.                                     Instead, the teacher began

complaining about Jane Doe’s (the victim) behavior in progress reports.

                                                        E.	  	  TITLE	  XI	  

8.	        Title	  VI	  seeks	  to	  stamp	  out	  race-­‐based	  discrimination	  in	  programs	  receiving	  

federal	   funds	   and	   ensure	   that	   federal	   resources	   do	   not	   support	   discriminatory	  

practices.	  	  Part	  of	  the	  Civil	  Rights	  Act	  of	  1964,	  Title	  VI	  prohibits	  race	  discrimination	  

in	  all	  programs	  receiving	  federal	  funds.	  	  42	  U.S.C.	  §2000d.	  




                                                                                                                                   3
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9.	         The	  school	  treated	  John	  and	  Jane	  Doe	  differently	  from	  other	  students.	  	  They	  

did	  not	  adhere	  to	  school	  guidelines	  when	  it	  came	  to	  John	  and	  Jane	  Doe.	  	  In	  part,	  the	  

school	   repeatedly	   swept	   incidents	   under	   the	   rug	   rather	   they	   deal	   with	   the	   apparent	  

racial	  discrimination	  that	  was	  taking	  place	  against	  the	  only	  two	  African	  Americans	  

in	  the	  school	  at	  that	  time.	  	  

10.	        The	   school	   turned	   a	   blind	   eye	   to	   harassment	   and	   physical	   attacks	   of	   these	  

children	   to	   the	   point	   that	   their	   inaction	   is	   a	   violation	   of	   the	   law.	   	   Moreover,	   the	  

schools	   failure	   created	   a	   hostile	   environment.	   	   For	   months	   John	   and	   Jane	   Does	  

suffered	  physical	  and	  mental	  abuse	  that	  was	  so	  severe,	  pervasive,	  and	  offensive	  that	  

it	  denied	  John	  and	  Jane	  Doe	  their	  education	  benefit.	  

11.	        The	   discrimination	   has	   left	   the	   children	   at	   times:	   depressed,	   sad,	  

traumatized,	  distraught,	  with	  feelings	  of	  isolation	  and	  loss	  of	  self-­‐worth.	  

                                                         G.	  	  JURY	  DEMAND	  

12.	        Plaintiff	   demands	   a	   jury	   trial	   and	   tenders	   the	   appropriate	   fee	   with	   this	  

complaint.	  

13.	        As	   a	   direct	   and	   proximate	   result	   of	   Defendant’s	   conduct,	   plaintiffs	   suffered	  

the	  following	  injuries	  and	  damages.	  

	           a.	         Mental	  Anguish.	  

	           b.	         Inconvenience	  

	           b.	         Emotional	  pain	  and	  suffering.	  

	           c.	         Loss	  of	  enjoyment	  of	  life.	  

	           d.	         Punitive	  damages.	  

                                                           I.	  	  CONCLUSION	  



                                                                                                                                                4
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14.	     For	   these	   reasons,	   Plaintiffs	   ask	   for	   judgment	   against	   Defendant	   for	   the	  

following:	  

	        a.	      Actual	  damages.	  

	        b.	      Prejudgment	  and	  postjudgment	  interest.	  

	        c.	      Reasonable	  Attorney	  Fees.	  

	        d.	      Punitive	  damages.	  

	        e.	      All	  other	  relief	  the	  Court	  deems	  appropriate.	  

                                                              Respectfully	  submitted,	  

                                                              The	  Law	  Office	  of	  Todd	  E.	  Webb	  

                                                              By:	  	  	  	  /s/Todd E. Webb	  	  	  	  	  	  	  	  	  	  	  	  	  

                                                              TODD	  E.	  WEBB	  

                                                              Texas	  State	  Bar	  No.24033317	  
                                                              Federal	  Admission	  No.	  597748	  
                                                              todd@attorneytoddwebb.com	  
                                                              4101	  Greenbriar	  Suite	  122E	  
                                                              Houston,	  Texas	  77098	  
                                                              (713)	  529	  4400	  t	  
                                                              (713)	  529	  4401	  f	  




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